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             BEFORE THE UNITED STATES JUDICIAL PANEL
                  ON MULTIDISTRICT LITIGATION

 In re: Oral Phenylephrine                )
 Marketing and Sales Practices            )   MDL No. 3089
 Litigation                               )
                                          )


 INTERESTED PARTY RESPONSE OF PLAINTIFFS TIFFANY TRAVIS AND NEWTON’S
 PHARMACY TO MOTION FOR TRANSFER AND COORDINATION OR CONSOLIDATION
                       UNDER 28 U.S.C. § 1407

      Interested Parties Tiffany Travis and Newton’s Pharmacy respectfully submit

this response to Plaintiffs Erin Barton, Sam Gallo, Kimberly Buscaglia, and Francis

Catanese’s Motion for Transfer and Coordination or Consolidation Under 28 U.S.C.

§ 1407. (D.E. #1 and 2). Ms. Travis is the Plaintiff in Travis v. P&G et. al., Case No:

1:23-cv-00607, filed in the Southern District of Ohio. Newton’s Pharmacy is the

Plaintiff in Newton’s Pharmacy v. P&G et. al., also filed in the Southern District of

Ohio, Case No: 1:23-cv-00613. Ms. Travis and Newton’s Pharmacy agree with Movant

that transfer is useful, necessary, and supported by numerous questions of fact and

law in actions related to the Oral Phenylephrine Marketing and Sales Practices Sales

Litigation, however, they disagree that the District Court of New Jersey is the best

venue for transfer and consolidation.

      Ms. Travis and Newton’s Pharmacy urges that the United States District Court

for the Southern District of Ohio – in particular the Western Division at Cincinnati –

is the most appropriate forum for the consolidation of these actions and that the

Honorable Douglas R. Cole is the most appropriate judge to preside. For the following

reasons, Ms. Travis and Newton’s Pharmacy respectfully request an Order


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transferring the Oral Phenylephrine Marketing and Sales Practices Sales Litigation

to the Southern District of Ohio for coordinated pretrial proceedings before Judge

Cole.

I.      The Southern District of Ohio is the Most Appropriate Forum.
        Factors to guide the selection of the most appropriate forum include: (1) the

location of parties, witnesses, and documents; (2) the accessibility of the proposed

transferee district to parties and witnesses; and (3) the respective caseloads of the

proposed transferee district courts. See In re Corn Derivatives Antitrust Litig., 486 F.

Supp. 929, 931–32 (J.P.M.L. 1980) (discussing factors); see also Manual for Complex

Litigation (Fourth), § 20.131, pp. 220–21. Each of these factors support the transfer

of these actions to the Southern District of Ohio for consolidated pretrial proceedings.

        A. The Location of the Largest Distributor Defendant, Witnesses, and
           Documents Weigh in Favor of Transfer to the Southern District of
           Ohio.

        In deciding transfer, the Panel looks to “the overall convenience of the parties

and witnesses in the litigation as a whole, not just those of a single plaintiff or

defendant in isolation.”1 Where the largest number of individual actions are pending

as well as where Defendants are headquartered are each of importance when

considering which is the most appropriate transferee district. 2 Further, the JPML




1 Watson Fentanyl Patch Prods. Liab. Litig., 883 F. Supp. 2d 1350, 1351-52 (J.P.M.L.

2012).
2 In re: Move It Customer Data Security Breach Litigation, 2023 WL 6456749, *3

(J.P.M.L. 2023).
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also considers the location of documents relevant to the litigation and the location of

witnesses.3

      The JPML has previously allowed transfer to the Southern District of Ohio

where one of the largest distributor Defendants is based in Ohio. 4 Defendant Procter

& Gamble is an Ohio corporation with its headquarters and principal place of

business in Cincinnati, Ohio. Like Cardinal Health in the Opiate Litigation,

Defendant Procter & Gamble not only distributes the subject product but also

“manufactures, markets, advertises, labels, [] and sells” Vicks Nyquil, one of the oral

phenylephrine products at issue in these lawsuits. In 2022 alone, Procter & Gamble

generated $11.2 billion dollars in income from sales of Nyquil and others in its home

health care line.5 Not only did a significant number of potential Class Members

purchase Procter & Gamble’s Nyquil product, but because Procter & Gamble is

headquartered in Cincinnati, there will be a substantial number of documents and

witnesses located there, weighing strongly in favor of transfer to the Western Division

of the Southern District of Ohio.

      B. The Centralized Location of the Southern District of Ohio Weighs
         in Favor of Transfer to the Southern District of Ohio.




3 See In re Corn Derivatives Antitrust Litig., 486 F. Supp. 929, 931–32 (J.P.M.L. 1980)

(discussing factors); see also Manual for Complex Litigation (Fourth), § 20.131, pp.
220–21.
4 See In re Nat'l Prescription Opiate Litig., 290 F. Supp. 3d 1375, 1379 (U.S. Jud. Pan.

Mult. Lit. 2017) (allowing transfer to the Southern District of Ohio where one of the
largest distributor Defendants, Cardinal Health, was based).
5 2022 Procter and Gamble Annual Report (available at:

https://us.pg.com/annualreport2022/annual-report-downloads/) (last accessed Oct.
25, 2023).
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      The Southern District of Ohio encompasses three diverse urban areas

(Cincinnati, Dayton, and Columbus). Convenience of access is a significant factor in

the selection of an MDL forum.6

      The Southern District of Ohio is a convenient forum by all measures.

Cincinnati is major metropolitan area centrally located in the Midwest and easily

accessible by plane. At least 14 airline carriers serve the airport and offer numerous

non-stop destinations to other major metropolitan areas.7 Further, the airport is just

14 miles away from the Potter Stewart Courthouse in downtown Cincinnati. Visitors

will find 130 hotels in Cincinnati and Northern Kentucky, with numerous eateries

and office locations within walking distance from the courthouse. 8 The affordability

of southwest Ohio relative to other major metropolitan areas will serve to conserve

the resources of all parties.9 The Southern District of Ohio’s central location in a

large, but accessible, city offers convenience for parties, corporate witnesses, and all

counsel.10



6 See In re Worldcom, Inc., Sec. & ERISA Litig., 226 F. Supp. 2d 1352, 1355 (J.P.M.L.
2002) (noting the conveniences of a metropolitan area with major airline service,
hotel, and office accommodations).
7 Non-Stop Destinations (available at:

https://www.cvgairport.com/nonstopdestinations) (last accessed Oct. 25, 2023).
8 Places to Stay in Cincinnati (available at: https://www.visitcincy.com/places-to-

stay/hotels/) (last accessed Oct. 25, 2023).
9 “Ohio Ranked as Most Affordable State” (available at: https://ohio.org/travel-

inspiration/articles/live-in-ohio-ranked-most-affordable-state) (last accessed Oct. 25,
2023).
10 See In re Nat'l Prescription Opiate Litig., 290 F. Supp. 3d 1375, 1379 (U.S. Jud.

Pan. Mult. Lit. 2017) (“The Northern District of Ohio presents a geographically
central and accessible forum that is relatively close to defendants' various
headquarters in New York, Connecticut, New Jersey and Pennsylvania.”).
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       C. The Ability of the Southern District of Ohio to Adjudicate This MDL
          Weighs in Favor of Transfer to the Southern District of Ohio.

       The Southern District of Ohio maintains a reasonable case load, with

approximately 21,210 pending civil cases among 16 sitting judges (including 8 on

senior status), as of December 31, 2022.11 There are currently no MDLs pending in

the Western Division of the Southern District of Ohio,12 and two MDLs pending in

the Eastern Division seated in Columbus: In re: Davol, Inc./C.R. Bard, Inc,

Polypropylene Hernia Mesh Products Liability Litigation (2846), and In re: E.I. du

Pont de Nemours and Company C-8 Personal Injury Litigation (2433).13 The District

of New Jersey, the proposed transferee Court, is currently handling three times the

number of civil cases (62,404), including twelve (12) MDL proceedings.14 The ability

of the Southern District of Ohio to absorb the additional burdens of this MDL weighs

heavily in favor of transferring the case there.



11Table C-1 U.S. District Courts Civil Cases Commenced, Terminated, and Pending
by Jurisdiction During the 12-Month Period Ending Dec. 31, 2022 (available at:
https://view.officeapps.live.com/op/view.aspx?src=https%3A%2F%2Fwww.uscourts.gov%2Fsites%2Fd
efault%2Ffiles%2Fdata_tables%2Fstfj_c1_1231.2022.xlsx&wdOrigin=BROWSELINK )             (last
accessed Oct. 25, 2023).
12 JPML List of Pending MDLs by District (available at:

https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-
September-15-2023.pdf) (last accessed Oct. 25, 2023).
13 List of Pending MDL Dockets by District, published by the JPML, for September

2023 (available at:
https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-
September-15-2023.pdf) (last accessed Oct. 25, 2023).
14 Table 2. Variation in Judge Caseloads Among Districts (available at:

https://trac.syr.edu/tracreports/judge/364/table2.html) (last accessed Oct. 25, 2023);
List of Pending MDL Dockets by District, published by the JPML, for September 2023
(available at:
https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-
September-15-2023.pdf) (last accessed Oct. 25, 2023).
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      Consolidation of these actions to the United States District Court for the

Southern District of Ohio will serve the interests of all parties by offering

convenience, affordability, and minimal docket congestion. Accordingly, the Southern

District of Ohio will uniquely serve the “just and efficient conduct of these actions.”

28 U.S.C. § 1407(a).

II.   Judge Cole’s Well-Rounded Experience is Ideal for his Presiding Over
      this Litigation.
      The experience and knowledge of a particular judge is a third important factor

that may be considered in determining the best transferee forum. 15 The Honorable

Douglas R. Cole is eminently qualified and well-suited to handle the complexity of an

MDL. He has served in his current position since 201916 and is well-regarded for both

his temperament and efficient docket management. His relevant legal experience to

date makes him ideally situated to preside over these actions.

      Prior to taking the bench in December of 2019, Judge Cole had an extensive

career as a litigator and law professor.17 Judge Cole was a law professor at the

University of Oklahoma College of Law and the Michael E. Moritz College of Law at

the Ohio State University.18 He also served as Ohio’s State Solicitor, and in that

capacity argued several cases at the United States Supreme Court. 19 Before taking



15 See, e.g., In re Factor VIII or IX Concentrate Blood Prod. Liab. Litig., 853 F. Supp.

454, 455 (J.P.M.L. 1993).
16 Biography – Judge Douglas R. Cole (available at: Judge Douglas R. Cole | Southern

District of Ohio | United States District Court (uscourts.gov)) (last accessed Oct. 25,
2023).
17 Id.
18 Id.
19 Id.


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the bench, Judge Cole was a founding partner of Organ Cole and before that, a

litigation partner at Jones Day.20 Judge Cole also has a background in science, with

undergraduate degrees in electrical engineering, mathematics, and physics. 21 In

addition to his education, he also worked as an electrical engineer before attending

law school.22

         Judge Cole has the qualifications to manage and effectively adjudicate an

MDL. Further, should any questions arise, he will also be able to draw on his district

colleagues’ experience in managing such matters. These colleagues include the

Honorable Edmund A. Sargus, Jr. of the Eastern Division of the Southern District of

Ohio. Judge Sargus has handled prior consolidated cases in multiple MDLs, including

the recent IN RE: Davol, Inc./C.R. Bard, Inc., Polypropylene Hernia Mesh Products

Liability Litigation (MDL 2846) and In re: E.I. du Pont de Nemours and Company C-

8 Personal Injury Litigation (MDL 2433) matters.23

         For these reasons, Tiffany Travis and Newton’s Pharmacy, as Interested

Parties, respectfully request that the Panel transfer all related or tag-along actions

to the United States District Court for the Southern District of Ohio, for coordinated

or consolidated pretrial proceedings before the Honorable Douglas R. Cole.

III.     In the Alternative, Tiffany Travis and Newton’s Pharmacy Support
         Consolidation in the Eastern District of Pennsylvania.



20 Id.
21 Id.
22 Id.
23 List of Pending MDL’s in the Southern District of Ohio (available at: MDL Case

Information | Southern District of Ohio | United States District Court
(uscourts.gov)) (last accessed Oct. 25, 2023).
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      Should the Panel decline to consolidate this litigation in the Southern District

of Ohio before Judge Cole, Tiffany Travis and Newton’s Pharmacy alternatively

support consolidation in the Eastern District of Pennsylvania before Judge Kai Scott

for the reasons set forth in the Interested Party Response of Plaintiffs Michelle

Kasparie and Kimberly James. (D.E. #176.)


Dated: October 25, 2023                  By: /s/ Alyson S. Beridon
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